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                     THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE



     In re RIDDELL CONCUSSION
                                                Civil No. 13-7585 (JBS/JS)
     REDUCTION LITIGATION




                                       OPINION

         This Opinion decides plaintiffs’ challenge to 272 documents

 on defendants’ privilege log that were reviewed in camera. The

 documents primarily concern communications between and amongst

 Riddell’s     employees,       including         an     occasional        in-house    and

 outside     counsel,     and     Riddell’s            outside     public        relations

 (“P.R.”),     marketing,       crisis      management            and/or        “messaging”

 consultants. 1     In   particular,        the       Opinion     must     of     necessity

 address     two   regularly    occurring            vexing   issues.      One,    whether

 emails exchanged amongst corporate employees are privileged even

 though     they   are   not    sent   to       or     received    from     an     in-house

 corporate attorney. Two, whether corporate emails copied to in-

 house counsel touching on legal issues are privileged if they

 also contain mixed discoverable business information. For the

 1 The named defendants in the case are Riddell, Inc., Riddell
 Sports Group, Easton-Bell Sports, Inc., Easton-Bell Sports, LLC,
 EB Sports Corporation, RBG Holdings Corporation and All-American
 Sports Corporation. These entities will be collectively referred
 to as “Riddell” or “defendants”.

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 reasons to be discussed, plaintiffs’ challenges to defendants’

 privilege designations are sustained in part and overruled in

 part.

 Background

      This      is    a     proposed        nationwide      class        action      filed       by

 purchasers of Riddell’s Revolution football helmets from 2007 to

 present seeking the return of a “price premium” allegedly paid

 for the helmets. The case focuses on the concussion reduction

 capabilities        of     Riddell’s       helmets       and     defendants’         pricing,

 advertising         and     marketing       of     the     helmets.          The     crux       of

 plaintiffs’ case is the claim that Riddell’s Revolution helmets

 offered   no    greater          protection      against    concussions            than       other

 helmets and, therefore, the price premium they paid should be

 reimbursed.         Plaintiffs       claim        Riddell’s       use     of       the        terms

 “concussion         reduction       technology”       or       “CRT”     was       false       and

 misleading. Riddell denies all liability allegations.

      Riddell’s        alleged       privileged       documents         can     generally         be

 described      as     communications          between      and     amongst         its        sales

 representatives            and     outside        consultants           regarding             P.R.,

 marketing,      crisis           management        and/or        “messaging”             issues.

 Riddell’s      privilege          assertions       are     only    supported             by    the

 Declaration     of        its    current    General      Counsel,       Brian      P.     Roche,




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 Esquire. 2      Roche     generally         states       that        Riddell’s       “sales

 representatives receive legal guidance, input and approval from

 counsel” (& 11), its sales representatives are “integral to the

 provision of legal advice by counsel for Riddell” (& 12), and it

 is “frequently necessary for Riddell’s sales representatives to

 solicit,       receive,       and    disseminate        advice       from     counsel   in

 performance      of     their       duties[.]”(&        13).    In    addition,       Roche

 explains that in connection with its business Riddell has relied

 on outside marketing, P.R. and crisis management consultants to

 implement      business       strategies          (&   15).     Roche       states   these

 companies “acted as extensions of Riddell’s in-house personnel,

 and as such, regularly sought and received legal advice from

 Riddell’s in-house and outside counsel[.]” (& 15). One company

 Riddell relied upon was MSL which performed its functions in

 connection with a Congressional inquiry and FTC investigation of

 different sporting goods companies (& 17). In addition to MSL,

 Riddell worked         with    Cohn    &   Wolfe,      Empire    Green      Creative    and

 Headrush Creative who served the equivalent role as an in-house

 marketing department (& 20).

        Roche    also    explains       that       in   connection      with    the   FTC’s

 investigation of sporting goods companies from 2009 to 2013, the

 Sports and Fitness Industry Association (“SFIA”), formerly the

 Sporting       Goods    Manufacturers             Association,        represented       the

 2   See attachment to Riddell’s July 15, 2016 Letter Brief (“RLB”).

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 interests   of   its   member      companies   (&&     21-22).    According     to

 Roche,   Riddell     was   asked     “for    legal    advice     and   input    in

 connection with representing the member companies’ shared legal

 interests.” (& 22). One         additional         company       mentioned     in

 Riddell’s documents is Simbex Product Development. Riddell hired

 Simbex to assist in the development of certain technologies or

 devices (& 23). 3

      As to all of the referenced companies Roche states there

 was an expectation of privacy and confidentiality over Riddell’s

 communications.      Nevertheless,         Roche     did   not    address      any

 particular documents and merely discussed plaintiffs’ objections

 in generalities. 4


 3 The Court is not able to identify the designated number of the
 Simbex document at issue and makes no determination whether it
 is privileged. Riddell should promptly forward a copy of the
 document to the Court for an in camera review.
 4 It is not insignificant that Roche did not specifically address

 any challenged document. Instead, Roche speaks in broad general
 terms that courts repeatedly hold is insufficient to satisfy the
 burden to establish a privilege. Younes v. 7-Eleven, Inc., C.A.
 Nos. 13-3500, 13-3715, 13-4578, 2014 WL 1959246, at *3 (D.N.J.
 May 15, 2014)(“Broad boilerplate assertions are insufficient to
 establish that a privilege exists.”). For example, in deciding
 whether a particular document is privileged it is not helpful to
 merely assert that generally sales representatives “receive
 legal guidance, input and approval from counsel” and they are
 “integral to the provision of legal advice.” Nor is it helpful
 to the privilege analysis to know that Riddell’s agents
 “regularly sought and received legal advice from Riddell’s …
 counsel[.]”   This  information   is  silent   about  whether   a
 particular document is privileged. While the Court is not averse
 to representative sampling, Roche did not even address any
 specific categories of documents. In fact, Roche’s Declaration
 did not mention any document. U.S. v. Rockwell Intern., 897 F.2d

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      Not    knowing         the     substance         of     Riddell’s        documents,

 plaintiffs could only surmise as to their content. Plaintiffs’

 general argument is that Riddell’s documents are not privileged

 because    they      merely    involve      routine        business    correspondence

 between sales employees and third-parties. July 25, 2016 Letter

 Brief (“PLB”) at 5-7. Plaintiffs point out they are challenging

 210 documents where Riddell’s employees communicated with third-

 parties    in     the    absence    of    an    attorney.         Rather   than   being

 privileged, plaintiffs argue the communications were exchanged

 in the “everyday course of business.” Id. at 5. Plaintiffs also

 challenge       62      documents    sent       to     or    by     Riddell’s      sales

 representatives. Although counsel is sometimes copied on email

 chains,    plaintiffs         believe    these       documents      involve    “routine

 [business] communications.” Id. at 7.

      Riddell argues its communications with third parties such

 as MSL are privileged because these entities performed the same

 role as employees and acted as the “functional equivalent” of an

 employee. RLB at 9. As to the communications by and between its

 sales agents, Riddell argues these entities were involved with


 1255, 1265 (3d Cir. 1990)(blanket assertions do not support a
 privilege claim). In addition to relying upon its Declarant’s
 general statements to support its privilege assertions, Riddell
 also relies upon the conclusions in its letter brief. This is
 inadequate to support a privilege claim. Id. While Riddell
 offers to provide more specific information if requested by the
 Court, the Court is adverse to a “do over” of this dispute.
 Riddell already had a sufficient opportunity to submit whatever
 information it wanted in support of its privilege claim.

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 counsel      regarding    “legal       strategies,    responses   to    sensitive

 media inquiries, draft congressional testimony, mitigating the

 risk    of    investigation       or    litigation,    and   legal     advice   on

 Riddell’s public facing marketing (including press releases and

 advertising copy).” Id. at 8.

 Discussion 5

        The Court’s discussion will be divided into two parts. The

 Court will first discuss the general legal principles it will

 apply. The Court will then apply the principles to Riddell’s

 documents to decide if they are privileged.

        1.     General Privilege Principles

               a.    Attorney-Client Privilege

        The Court sits in diversity and, therefore, will apply New

 Jersey law to decide attorney-client privilege issues. Fed. R.

 Evid. 501; In re Human Tissue Products Liab. Litig., 255 F.R.D.

 151,    156    (D.N.J.        2008)(citation     omitted).    The      burden   of

 establishing       that   a    document    is   privileged   is   on   the   party

 asserting the privilege. Torres v. Kuzniasz, 936 F. Supp. 1201,

 5 Much of Riddell’s submission is spent arguing that plaintiffs
 waived their right to assert the present objections. The Court
 discounts the argument and will address the merits of the
 present dispute. The Court granted plaintiffs leave to challenge
 Riddell’s privilege assertions at the June 27, 2016 conference.
 It is true that at that time plaintiffs indicated they were only
 raising 30-50 objections. Nevertheless, the Court would have
 granted plaintiffs the same leave even if plaintiffs raised
 objections to 272 documents. The Court rejects any notion that
 plaintiffs made deliberate misrepresentations to the Court or
 acted other than in good faith.

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 1208     (D.N.J.     1996).      The       attorney-client       privilege       protects

 communications when: (1) the asserted holder of the privilege is

 or    sought   to    become      a    client,      (2)    the   person    to    whom   the

 communication was made (a) is a member of the bar of a court, or

 his subordinate and (b) in connection with the communication is

 acting as a lawyer, (3) the communication relates to a fact of

 which the attorney was informed (a) by his client (b) without

 the    presence      of    strangers        (c)    for    the   purpose    of    securing

 primarily either (i) an opinion on law or (ii) legal services or

 (iii) assistance in some legal proceeding, and (d) not for the

 purpose of committing a crime or tort, and (4) the privilege has

 been (a) claimed and (b) not waived by the client. Rhone-Poulenc

 Rorer Inc. v. Home Indem. Co., 32 F.3d 851, 862 (3d Cir. 1994).

        Importantly, the attorney-client privilege does not apply

 just because a statement was made by or to an attorney. Thus,

 the mere fact that Riddell’s counsel is copied on emails does

 not    prove   a    document         is   privileged.      Spiniello      Companies     v.

 Hartford Fire Insurance Company, C.A. No. 07-cv-2689 (DMC), 2008

 WL    2775643,     at     *2   (D.N.J.      July    14,    2008)(simply     copying     or

 “cc’ing” an attorney on an email is not enough to establish a

 privilege); Andritz Sprout-Bauer, Inc. v. Beazer East, Inc., 174

 F.R.D.    609,      633    (M.D.     Pa.    1997)(“[W]hat        would    otherwise     be

 routine,       non-privileged              communications        between        corporate

 officers or employees transacting the general business of the

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 company do not attain privileged status solely because in-house

 or     outside        counsel    is    ‘copied      in’       on     correspondence         or

 memoranda”). This makes perfect sense because otherwise parties

 could    facilely       avoid       producing     relevant         discovery    by    simply

 copying    an    attorney       on    every   email.      See      Orion    Corp.     v.    Sun

 Pharmaceutical Industries, Ltd., C.A. Nos. 07-5436 (MLC), 08-

 5545     (MLC),        2010     WL     686545,     at     *8        (D.N.J.     Feb.        22,

 2010)(“Because the privilege may be employed to obstruct the

 search for truth, the privilege is not absolute and care must be

 taken to insure the privilege is not abused”).

         Further,        the     attorney-client           privilege           applies        to

 communications and not facts. Rhone-Poulenc Rorer, Inc., 32 F.

 3d at 862 (“The client … may not refuse to disclose any relevant

 fact    within        his   knowledge    merely     because         he     incorporated       a

 statement        of     such    fact     into      his        communication          to    his

 attorney.”)(citation and quotation omitted); see also Louisiana

 Mun. Police Employees Retirement System v. Sealed AirCorp, 253

 F.R.D.    300,        305   (D.N.J.    2008)(“In        all     instances,      the       facts

 underlying       any        given     communication           remain       discoverable”).

 Instead, “[t]he [attorney-client] privilege protects only those

 disclosures - necessary to obtain informed legal advice – which

 might not have been made absent the privilege.” Westinghouse

 Elec. Corp. v. Republic of the Philippines, 951 F.2d 1414, 1423-

 24 (3d Cir. 1991) (citation, quotation and emphasis omitted).

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        An   attorney          who     is        not       performing       legal          services     or

 relaying legal advice and who performs non-legal duties does not

 qualify     for        the    privilege.           Payton         v.     New     Jersey        Turnpike

 Authority, 148 N.J. 524, 550-51 (1997); Fredericks v. Atlantic

 City Bd. of Educ., C.A. No. 08-3082 (RBK/JS) 2010 WL 3429605 at

 *5    n.6   (D.N.J.          Aug.    26,     2010)(not            infrequently            lawyers     are

 engaged to perform non-legal services); see also Ellerstein v.

 Herman Body Co., 23 N.J. 348, 352 (1957), adopting the lower

 Court’s ruling that if an attorney “is engaged for the rendition

 of work which inherently is not the practices of law and his

 knowledge       of     law     may        along       the      line     come     into       play,     the

 engagement        is    for        non-legal          work.”       This     is       true      even    if

 litigation        may        arise        from    the          subject    of        the     attorney’s

 activities. Payton, 148 N.J. at 551.

              b.        Corporate Counsel and Mixed Communications

        In the present case a number of contested documents were

 sent to or from Riddell’s in-house corporate counsel. It is of

 course true that the attorney-client privilege applies to in-

 house counsel.           Rowe v. E.I. Dupont, C.A. Nos. 06-1810 (RMB/AMD)

 and 06-3080 (RMB/AMD), 2008 WL 4514092, at *7-8 (D.N.J. Sept.

 30,    2008).     However,           it    is     well-recognized              in    the       corporate

 context     that       it     is     difficult            to    apply     the       attorney-client

 privilege    because          in-house           counsel        often     participates           in   and

 renders     decisions          about       business         issues.       Id.       at    8.   Business

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 advice is not protected by the attorney-client privilege. Id. at

 *7.    However,      if    a     communication         is     designed          to   meet

 predominately legal problems the attorney-client privilege may

 apply. Id. at *8. Only if an attorney is acting as a lawyer and

 giving advice with respect to the legal implications of an issue

 may   the   privilege      be    properly        invoked.    Id.    at    8     (citation

 omitted). As explained in Payton, 148 N.J. at 550, “a fine line

 exists between an attorney who provides legal services or advice

 to an organization and one who performs essentially nonlegal

 duties.”    Thus,    the   Court    must        determine   the    exact      role   that

 Riddell’s     attorneys         played     with     regard     to        each    claimed

 privileged document. Id. The general rule is that “while legal

 advice given to a client by an attorney is protected by the

 privilege, business advice generally is not.”                        Louisiana Mun.

 Police, 253 F.R.D. at 305; see also Rowe, 2008 WL 4514092, at

 *8, noting that modern corporate counsel become involved in all

 aspects of the company they work for and that “in-house counsel

 participates in and renders decisions about business, technical,

 scientific, public relations, and advertising issues, as well as

 purely legal issues”).

       Even if some portion of an attorney’s role is to give legal

 advice this does not end the privilege inquiry. Often times an

 attorney’s role is mixed. In instances of mixed communications

 the   Court   must    determine      “whether        the    primary       purpose     and

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 content of the [communication] is predominantly legal.” Rowe, at

 *11 (overruling privilege objection to a document because it did

 not reflect the exercise of a predominantly legal function as

 opposed to business advice). As noted in Rowe, “[o]nly if [an]

 attorney is acting as a lawyer giving advice with respect to the

 legal    implications     of   a   proposed     course     of    conduct    may   the

 privilege      be   properly   invoked[.]”      On   the    other    hand,    “if   a

 communication is made primarily for the purpose of soliciting

 legal advice, an incidental request for business advice does not

 vitiate     the     attorney-client     privilege.”        Id.      (citation     and

 quotation omitted). As further noted in a recent well-reasoned

 decision:

       There is broad consensus in other jurisdictions that,
       if the non-legal aspects of the consultation are
       integral to the legal assistance given and the legal
       assistance is the primary purpose of the consultation,
       both the client’s communications and the lawyer’s
       advice and assistance that reveals the substance of
       those communications will be afforded the protection
       of the privilege.

 Harrington v. Freedom of Information Commission, 323 Conn. 1,

 144     A.3d      405,   416   (Conn.        2016)(citation       and      quotation

 omitted)(emphasis in original). 6


 6
   Rather than using a “primary purpose” test for mixed
 communications, some courts use a “but for” test. Graco, Inc. v.
 PMC Global, Inc., C.A. No. 08-1304 (FLW), 2011 WL 666048, at *16
 (D.N.J. Feb. 14, 2011)(“[T]he party claiming privilege should
 demonstrate that the communication would not have been made but
 for the client’s need for legal advice or services”)(citation
 and quotation omitted).

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       The    test       for     the     application          of    the     attorney-client

 privilege     to       communications         with     legal       counsel    in     which    a

 mixture      of    services          are      sought    is        whether     counsel        was

 participating in the communications primarily for the purpose of

 rendering legal advice or assistance. Therefore, merely because

 a   legal    issue       can    be     identified       that       relates    to     on-going

 communications         does    not     justify       shielding       the     communications

 from discovery. The lawyer’s role as a lawyer must be primary to

 her participation. In re Vioxx Products Liability Litigation,

 501 F. Supp. 2d 789, 798 (E.D. La. Sept. 4, 2007).

       Some    relevant         factors     courts      consider       to     determine       the

 primary     purpose       of    a     mixed    communication         include:        (1)    the

 context of the communication and the content of the document;

 (2) whether the legal purpose permeates the document and can be

 separated from the rest of the document; and (3) whether legal

 advice is specifically requested and the extent of the recipient

 list. Phillips v. C. R. Bard, Inc., 290 F.R.D. 615, 629 (D. Nev.

 2013).    Judicial       scrutiny       should       focus    on    the     nature    of     the

 relationship between in-house counsel and others and the type of

 information       or    communication          involved.      United       Jersey    Bank     v.

 Wolosoff, 196 N.J. Super. 553, 563 (App. Div. 1984).

              c.        Inter-Corporate Communications

       Many    of    the    challenged          documents       involve      communications

 between and amongst Riddell’s employees that do not involve an

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 attorney.    The   Court   agrees   with   Riddell     that    simply   sharing

 documents    amongst    corporate     employees    does       not   necessarily

 vitiate a privilege. These communications remain privileged if

 they assist the attorney to formulate and render legal advice.

 Westinghouse Elec. Corp., 951 F.2d at 1424 (the client may allow

 disclosure to an agent assisting the attorney in giving legal

 advice); HPD Laboratories, Inc. v. Clorox Co., 202 F.R.D. 410,

 414 (D.N.J. 2011). (“To qualify for protection, statements to

 and   from   third   parties   must   be   made   in   confidence       for   the

 purpose of obtaining legal advice from the lawyer”)(citation,

 quotation and emphasis omitted). As noted in O’Boyle v. Borough

 of Longport, 218 N.J. 168, 185 (2014), “[t]he privilege . . .

 extends to consultations with third parties whose presence and

 advice are necessary to the legal representation.” Disclosure of

 attorney-client communications that are necessary to advance the

 representation, do not waive the privilege. Id. However, the

 privilege is waived if the document is shared beyond persons

 with a “need to know.” TransWeb, LLC v. 3M Innovative Properties

 Co., C.A. No. 10-4413 (FSH)(PS), 2012 WL 2878075, at *3 (D.N.J.

 July 13, 2012). General group wide descriptions do not permit

 the court to determine if the recipients require, or have the

 capacity to act upon, the information distributed. Id.




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                d.     Riddell’s Third-Party Agents

        The majority of challenged documents involve communications

 between      and     amongst    Riddell’s         third-party        agents       which     were

 mainly hired for P.R. and communications purposes. The Court

 agrees with Riddell that the mere fact an attorney communicates

 with    a    third-party       does   not    necessarily         waive         the   attorney-

 client privilege. This is so because “[w]hen disclosure to a

 third-party is necessary for the client to obtain informed legal

 advice,      courts     have    recognized         exceptions        to    the       rule   that

 disclosure waives the attorney-client privilege.” Westinghouse

 Elec. Corp., 951 F.2d at 1424; O’Boyle, 218 N.J. at 309 (“If …

 the third party is a person to whom disclosure of confidential

 attorney-client            communications         is    necessary         to     advance     the

 representation, disclosure will not waive the privilege”); In re

 Grand       Jury,    705    F.3d   133,     160        (3rd   Cir.    2012)(“Privileged

 persons include the client, the attorney(s), and any of their

 agents      that    help    facilitate      attorney-client           communications          or

 the     legal       representation”)(citation             and    quotation           omitted);

 Tractenberg v. Township of West Orange, 416 N.J. Super. 354, 376

 (App.        Div.      2010)(privilege            extends       to        “the       necessary

 intermediaries and agents through whom the communications are

 made”)(citation         and    quotation      omitted);         In   re        Copper   Market

 Antitrust           Litigation,       200     F.R.D.          213,        219        (S.D.N.Y.

 2001)(“[T]here is no reason to distinguish between a person on

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 the     corporation’s     payroll        and     a   consultant     hired   by     the

 corporation if each acts for the corporation and possesses the

 information needed by attorneys in rendering legal advice.”

       Stated another way, the attorney-client privilege “protects

 communications       made      to     an        attorney’s     agent   where       the

 communication is necessary for the client to obtain informed

 legal advice from the attorney.” E.I. Dupont deNemours & Co. v.

 MacDermid, Inc., C.A. No. 06-3383 (MLC), 2009 WL 3048421, at *3

 (D.N.J. Sept. 17, 2009). Thus, it is unquestionably the case

 that communications between and amongst Riddell and MSL, et al.,

 for the purpose of securing legal advice are privileged. It is

 clear, however, that not all communications with an attorney’s

 agent    are   protected.      To   be     protected       communications    with    a

 third-party agent must be made in confidence for the purpose of

 obtaining legal advice from the lawyer. Id. If the communication

 would have been made in the normal course of business even if

 the attorney did not need the information to give legal advice,

 the communication is not privileged. ISS Marine Services, Inc.,

 905   F.   Supp.     2d   at   128.      The     agent’s     involvement    must    be

 necessary to the lawyer’s provision of legal advice. Id.; see

 also Louisiana Mun. Police, 253 F.R.D. at 311 (privilege not

 waived if the disclosure was made to an agent whose services are

 necessary      for    effective          representation        of   the     client’s

 interests). The party claiming the third-party as an agent, in

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 this    case      Riddell,        has   the   burden      to   show    that   a   privilege

 exists and that the privilege has not been waived. Id.

                  e.    Work-Product Doctrine

        To the extent Riddell relies on the work-product doctrine

 to protect its documents (see RLB at 6), the argument is denied. 7

 The burden of proving that a document is protected rests with

 the party asserting the work-product doctrine. Torres, 936 F.

 Supp. at 1208. The party claiming protection must demonstrate

 the precise manner in which a document is protected. Id. Blanket

 assertions do not suffice.                Caver v. City of Trenton, 192 F.R.D.

 154, 159 (D.N.J. 2000).

        In    order         for    documents   to    be     protected       from   discovery

 pursuant to the work-product doctrine, “it must be reasonably

 clear    based        on    the    surrounding      facts      and   the   nature     of   the

 materials that they were in fact prepared or obtained because of

 pending or anticipated litigation.”                        Reich v. Hercules, Inc.,

 857 F. Supp. 367, 372 (D.N.J. 1994). Documents prepared in the

 regular course of business are not protected. Rockwell Int’l,

 897 F.2d at 1266. Documents created for other purposes that are

 useful      in    subsequent        litigation      are     also     not   attorney    work-

 product. In re: Gabapentin Patent Litigation, 214 F.R.D. 178,

 184 (D.N.J. 2003). Thus, a party seeking to invoke the work-

 product doctrine must prove at least two elements. First, that a

 7   One exception is PRIV 325 discussed supra.

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 document      was         prepared         because           of     reasonably         anticipated

 litigation. Second, that the material was prepared because of

 the prospect of litigation and for no other purpose. Id. at 183-

 84.

        Whether        a        document        was        prepared    in     anticipation           of

 litigation       is        a     difficult        determination.            Id.     In    general,

 however, a party must show more than a “remote prospect”, an

 “inchoate possibility”, or a likely chance of litigation.                                       Id.

 “[A] party must show that there existed an identifiable specific

 claim of impending litigation when the materials were prepared.”

 Id. (citation and quotation omitted). The “dominant purpose” in

 preparing      the        document        must       be    the    concern    about       potential

 litigation     and        the        concern     must       be    “objectively      reasonable.”

 Tractenberg, 416 N.J. Super. at 374. The mere involvement of an

 attorney      does        not,       in   itself,         evidence    that    a   document      was

 prepared in anticipation of litigation. Id. Documents created

 for other purposes that prove useful in subsequent litigation

 are not attorney work-product. Gabapentin, 214 F.R.D. at 184. To

 be    sure,   however,           a    document        may    be    protected      by     the   work-

 product doctrine even though it was not prepared by an attorney.

 For    example,       the       work-product          doctrine       may    apply      even    if   a

 document was prepared by a party’s agent. United Coal Companies

 v. Powell Const. Co., 839 F.2d 958, 966-67 (3d Cir. 1988).




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       Riddell’s work-product assertion is rejected because there

 is no evidence its documents were prepared because of impending

 litigation. It is true that many of Riddell’s documents were

 prepared     because    of   Congressional    inquiries      into   concussions.

 However, no evidence exists to show this was likely to lead to

 litigation. As noted, the mere “remote prospect” or “inchoate

 possibility”      of   litigation     does   not   satisfy   the    work-product

 doctrine. Gabapentin, 214 F.R.D. at 183. The same is true for

 Riddell’s concerns that its literature may result in lawsuits,

 and   even    the   instance    where    Riddell     investigated        a   crushed

 helmet. The work-product doctrine does not apply unless a party

 shows “there existed an identifiable specific claim of impending

 litigation when the materials were prepared.” Id. (citation and

 quotation omitted). Riddell has not made this showing. Further,

 it is not insignificant that Roche’s Declaration does not even

 attempt      to   justify    the     applicability     of    the    work-product

 doctrine.     Nowhere    does      Roche’s   Declaration     say    or       indicate

 Riddell’s documents were prepared in anticipation of specific

 litigation.

       2.     Riddell’s Documents

       The Court now turns to the 272 documents at issue.

              a.     62 Documents Exchanged Amongst Riddell’s
                     Employees




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        Plaintiffs           challenge        62       designations            involving

 communications between Riddell’s sales employees. 8 Riddell argues

 the    sales    employees       were    necessary     to        these   communications

 because      they      were:     (1)     sales      managers        relevant     to     a

 communication,        (2)      sales    representatives           necessary    to     the

 collection of information for an attorney, or (3) sales managers

 and    representative       “seeking,      receiving       or    disseminating      legal

 advice so that they acted appropriately with respect to customer

 inquiries or issues.” RLB at 7. Plaintiffs argue defendants’

 documents      are    not    privileged      because       they     involve    “routine

 conversations” with sales employees.

        Having reviewed the 62 documents at issue, the Court finds

 that most of the documents are not privileged. At bottom, most

 of     the   challenged        documents        address        corporate   “messaging”

 concerns and not legal issues or advice. This accounts for why

 most    of   the     documents    were    prepared        by    sales   personnel     and

 communications managers. Without summarizing each document, the

 documents generally concern non-legal business issues such as

 communications        between     and    about     high    schools      and   colleges,

 comments on competitors’ helmets and literature, responses to

 media inquiries, content of press releases, marketing slides,




 8 These documents are listed on Exhibit I to Riddell’s Letter
 Brief.

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 and content of marketing documents. These are all business and

 not legal topics.

         Frankly, the Court is hard pressed to decipher any legal

 advice    or    purpose       to    these       62       documents.       To     the    extent    the

 content of Riddell’s documents may touch on legal issues, which

 the   Court     does       not     find,       the       documents        are    not     privileged

 because        it     is      plain       the            predominant        purpose        of     the

 communications was to address business and not legal concerns.

 The   attorney-client             privilege          protects         disclosures        to    obtain

 legal    advice       which       might       not    be        made   absent     the    privilege.

 Westinghouse Elec. Corp., 951 F.2d at 1423-24. After reviewing

 Riddell’s       documents          the    Court           is     convinced       that     Riddell’s

 privilege           assertions           do         not         satisfy         this      criteria.

 “Communications            which    relate          to     business       rather        than    legal

 matters    do       not    fall    within       the       protection       of    the     [attorney-

 client] privilege.” Alpha Painting & Constr. Co., Inc. v. DE

 River Port Authority of the Comwlth. of PA,                                     F. Supp. 3d        ,

 2016 WL 5339576, at *12 (D.N.J. Sept. 23, 2016).

         In In re Seroquel Prods. Liab. Litig., No. 6:06-md-1769,

 Orl-22DAB, 2008 WL 1995058, at *7 (M.D. Fla. May 7, 2008), the

 court noted that when documents concern business decisions or

 are the product of corporate committees responsible for business

 decisions regarding technological, science, public relations or

 marketing issues, the party claiming the privilege must show

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 “the communications at issue are more than simply grammatical,

 editorial,      technological,       scientific,        public     relations,     or

 marketing suggestions, and are specifically in the nature of

 legal   advice.”    Further,    in    order       to   prevent   abuse   attorneys

 claiming the privilege must demonstrate that the communication

 would not have been made but for the client’s need for legal

 advice or services. Id. at *8 (citation omitted). Riddell has

 not made this showing.

        To be sure, the Court is not ruling that communications

 between   sales    personnel    cannot       be    privileged.     The   Court    has

 already discussed that these communications may be privileged if

 they    are   necessary   to   provide       legal     advice.    Amongst   the    62

 documents there are a handful that do not have to be produced.

 The Court finds PRIV 102 (asking for legal advice on a proposed

 contract), 576 (asking for legal advice on a draft letter), and

 1448    (Legal     Hold   Notice       for        unrelated      litigation)      are

 privileged. 9


 9 Although Riddell did not specifically address each document it
 claims is privileged, it highlighted a few examples to prove its
 point. Presumably, Riddell attempted to pick out the best of the
 bunch. Riddell’s examples are not convincing. For example, PRIV
 007 is a series of emails concerning a youth helmet that had a
 “cave in.” The emails do not involve legal advice but merely an
 investigation of the incident. The email is not word-product for
 the reasons discussed infra. PRIV 008 merely involves a
 discussion about a press release. PRIV 104 discusses a
 competitor’s offer to donate helmets to a high school. PRIV 707
 discusses a media inquiry regarding Virginia Tech football
 helmet ratings. None of these “illustrative” documents address

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             b.    210 Documents Exchanged with Third-Parties

       Plaintiffs challenge 210 documents Riddell exchanged with

 third-parties.     As    already    discussed,     the    Court       agrees   with

 Riddell that its communications may still be privileged even

 though it communicates with third-parties such as MSL. The key

 issue    regarding       the   applicability      of     the        attorney-client

 privilege    in   this    context    is    the   purpose       of    the   work   of

 Riddell’s agents. If the primary purpose was to assist counsel

 to render legal advice, the privilege applies. If the purpose

 was to provide business or messaging advice, the privilege does

 not apply. See generally Payton, 148 N.J. at 550-51; Emmanouil

 v. Roggio, C.A. No. 06-1068 (GEB), 2009 WL 961275, at *2 (April

 7, 2009)(the privilege does not extend to any advice which is

 not legal in nature, i.e., business advice).

             (1)   MSL

       MSL is a public relations firm that consults with clients

 on communication strategies, Riddell claims 178 MSL documents

 are privileged. 10 For the same reasons most of Riddell’s sales

 employees’ documents are not privileged, the same is true for

 MSL. Simply stated, even if an attorney was copied on a MSL


 issues necessary for legal advice. Even if a sliver of the
 documents is necessary for an attorney to render legal advice,
 it is unquestionably the case that the primary purpose of the
 documents is related to Riddell’s business and not legal
 concerns.
 10 These documents are listed on Exhibit J to Riddell’s Letter

 Brief.

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 email chain, the predominant purpose of MSL’s documents was to

 provide business and communication advice, not legal advice. In

 fact,    MSL   acknowledged      it    was    hired     “to    assist      in   public

 relations effort.” See PRIV 381. This is evident by the subject

 matter    of   MSL’s    documents     which   concern,        inter   alia,     how    to

 respond to media inquiries, updates on relevant media coverage,

 preparing       for     testimony       before        Congress,        updates         on

 Congressional     developments        and     general       governmental        affairs

 issues. Indeed, MSL acknowledged it was tasked to recommend a

 comprehensive         communications        program     and        media    relations

 strategy. See PRIV 381. To the extent attorneys were copied on

 MSL’s documents it was merely for information purposes or for

 general    comments      on   P.R.    strategy.       For    the    most    part      the

 attorneys did not provide legal advice or input. If they did it

 is not apparent their input was a material consideration.

       Riddell highlighted a few documents in this category to

 illustrate its argument that the designated MSL documents are

 privileged. Once again the examples are not convincing. None of

 the examples specifically mentions legal advice, opinions, or

 litigation. Further, the overwhelming context of the documents

 relates to P.R. and messaging issues. If an attorney is copied

 on an email it appears to be incidental. None of the documents

 reference a legal principle nor engage in any legal analysis. If




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 an attorney gave any input the attorney was simply weighing in

 on business, messaging or marketing issues.

        For    example,    one    series     of     emails        from    November      2009

 discusses a potential “Riddell Innovation History” and a Today

 Show   segment     on    a   competitor’s         helmet.        (PRIV    0639).     Other

 documents concern how to answer potential questions at hearings

 (PRIV 0042), the content of videos on YouTube (0058, 455) how to

 address      Congressional          assumptions         about      helmets       (00231),

 comments on a competitor’s testimony before Congress (00277),

 and Riddell testimony before Congress (01622). As to this last

 document, although edits appear to be made by a lawyer, the

 edits are of a factual nature and do not involve legal advice or

 opinions.     Louisiana      Mun.    Police,      253   F.R.D.      at    305   (“In    all

 instances, the facts underlying any given communication remain

 discoverable.”); In re Vioxx, 501 F. Supp. 2d at 807 (rejecting

 Merck’s      assertion    that      its   lawyers       edits     to     documents     were

 privileged because it did not explain how this primarily related

 to legal assistance being provided).

        All    of   the   illustrative           examples     Riddell       relies      upon

 support      the   Court’s      conclusion       that      the    purpose       of   MSL’s

 documents relate to standard P.R. and messaging issues rather

 than legal advice, opinions or issues. The fact that Riddell,

 like all businesses, wants to portray itself in a helpful light

 is not worthy of attorney-client privilege protection, even if

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 an attorney is copied on an email. A “media campaign is not a

 litigation strategy” even if an attorney deems it advisable.

 NXIVM   Corp.        v.   O’Hara,     241    F.R.D.         109,      141    (N.D.N.Y.      2007).

 Further,    a    public         relations        campaign        and    media      strategy      to

 bolster    a    party’s         public     image       and      reputation         is    also    not

 privileged.      McNamee         v.   Clemens,         No.      09CV    1647(SJ),         2013    WL

 6572899, at *6 (E.D.N.Y. 2013). After reviewing the content and

 context of Riddell’s documents, the Court simply does not accept

 Riddell’s conclusion that its examples reflect “legal advice.”

 RLB at 12. Ordinary public relations advice and working with

 counsel to evaluate the public reaction to different strategic

 alternatives         is   not    privileged.           Egiazaryan           v.    Zalmayez,      290

 F.R.D. 421, 432 (D.N.J. 2013); see also Haugh v. Schroder Inv.

 Mgmt. N. Am. Inc., No. 02 Civ. 7955 DLC, 2003 WL 21998674, at *3

 (S.D.N.Y.       Aug.      25,     2003)(“Some           attorneys           may    feel    it    is

 desirable       at    times      to   conduct          a    media      campaign,         but    that

 decision does not transform their coordination of a campaign

 into legal advice”).

       This is not the first case, nor will it be the last, where

 lawyers claim communications with public relations consultants

 are   privileged.         The    common     theme          in   the    cases      that    protects

 these   communications           is   if    the       public       relations       consultants’

 communications            are    made       in        connection        with        ongoing       or

 anticipated litigation and the advice is directed at supporting

                                                  25
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 the client’s litigation position, or the P.R. input is necessary

 for an attorney to provide legal advice. See generally Grand

 Canyon Sidewalk Development LLC v. Cieslak, C.A. No. 2:15-cv-

 1189-JAD-GWF,      2:13-cv-00596-JAD-GWF,       2015     WL    4773585      (D.    Nev.

 Aug.    13,    2015)(collecting      cases).   Whether    or    not    MSL    is    the

 “functional equivalent” of Riddell’s in-house P.R. department is

 not determinative here. If MSL simply provided ordinary public

 relations advice its communications are not privileged. NXIVM

 Corp. v. O’Hara, 241 F.R.D. 109, 141 (N.D.N.Y. 2007). On the

 other    hand,    if     MSL   provided   information    needed       by    Riddell’s

 attorneys to render legal advice its information is privileged.

 In re Bristol-Myers Squibb Securities Litigation, C.A. No. 00-

 1990 (SRC), 2003 WL 25962198, at *4 (D.N.J. June 25, 2003). 11 At

 bottom, most of MSL’s documents are not privileged because they

 reflect       ordinary    public   relations   services       done    for    business

 purposes. The documents do not reflect or even mention that the

 services were needed for legal advice. “If a communication would

 have been made even if legal advice were not explicitly sought,

 then it is difficult to say that the communication’s primary

 11
   New York takes a narrower position that the Court is not
 applying here. In Egiazaryan, 290 F.R.D. 431, the Court stated
 the party asserting the privilege must show the disclosure to
 the public relations firm was necessary for the client to obtain
 informed legal advice. Also, the necessity element “means more
 than just useful or convenient, but rather requires that the
 involvement of the [P.R. Firm] be nearly indispensable or serve
 some specialized purpose in facilitating the attorney-client
 communications” (citation and quotation omitted).

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 purpose was to seek legal advice.” U.S. v. ISS Marine Services,

 Inc., 905 F. Supp. 2d 121, 128 (D.D.C. 2012).

       Riddell’s reliance on Copper Market, supra, is misplaced.

 In that case the plaintiffs alleged the defendants conspired to

 manipulate global copper prices and sought documents from RLM, a

 public      relations           firm        that        consulted          with      a        defendant

 (Sumitomo).        However,           RLM     was        only       hired       after         Sumitomo

 anticipated        a    Commodities         Futures       Trading          Commission         (“CFTC”)

 investigation          and     related       litigation.            Id.    at   215.      The    chief

 object     of    RLM’s         engagement          was     “the       management          of     press

 statements in the context of anticipated litigation[.]” Id. at

 215-16.     This        was     not    surprising          since          RLM     specialized       in

 litigation related crisis management. Id. at 221. The role of

 MSL and Riddell’s other consultants in the case is not remotely

 similar to the role RLM played in Copper Market. Here, MSL was

 hired for ordinary P.R. work. Unlike Copper Market there was no

 anticipated or pending litigation for which MSL’s services were

 used or needed. Nor did MSL provide information to Riddell’s

 attorneys that was necessary for them to provide legal advice.

       To    be         sure,     however,          some        of     MSL’s       documents        are

 privileged. These are instances where MSL’s documents indicate

 actual     legal       advice    was     conveyed         or    where       this     is   apparent.

 These documents include: PRIV                  216        (legal          analysis       by    outside

 counsel), 218 (only 1/4/11, 11:10 a.m. email asking for legal

                                                    27
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 insight),         325     (work-product         regarding     Schutt        Sports    lawsuit),

 390 (legal analysis of legislation), 443 (only as to 1/14/11,

 12:22       p.m.       email     referring      to    attorney        advice),     448      (legal

 analysis of box layout), 455 (legal analysis regarding videos),

 560 (legal analysis re letter to Congress), 666 (legal analysis

 re    O    &     A),    and     1716   (only    as    to   10/15/10,        1:14     p.m.    email

 referring to legal advice).

                   (2)     Cohn & Wolfe, Empire Green and Headrush Creative

           These companies served as marketing agents or consultants

 for Riddell. RLB at 13. Their 21 documents reflect that Riddell

 consulted with the companies with regard to a documentary video

 and       some    literature. 12        For    the    reasons    already      discussed        the

 documents merely reflect business and commercial communications

 that are not privileged. However, a number of these documents

 reflect           and         discuss      privileged           attorney         advice        and

 communications. The following documents fit into this category

 and do not have to be produced because they are privileged: PRIV

 766       (legal         analysis       regarding       use      of     terminology),          770

 (preparation            for     attorney      meeting),    818    (discussion         regarding

 appropriate             legal    language       for    video),        840   (legal     analysis

 regarding use of terminology), 1186 (email discussing attorney




 12These 21 documents are listed on Exhibit K to Riddell’s Letter
 Brief.

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 advice),      1199    (email    discussing            attorney      advice),      and     1285

 (legal analysis regarding use of terminology). 13

               (3)    SFIA

        The Sports & Fitness Industry Association (“SFIA”) is the

 trade association of leading industry sports and fitness brands,

 suppliers,     retailers       and    partners.         RLB    at     13.   Tom     Cove    is

 President of the SFIA. Id. These 10 documents the Court reviewed

 in   camera    involve       emails   from       or    to     Tom   Cove    that    discuss

 Congressional        and    regulatory       developments           and     updates. 14     In

 particular, there is a discussion regarding a bill drafted by

 Senators      Udall    and     Rockefeller        that        would    give     additional

 authority to the FTC regarding sports or fitness products and

 safety benefits (“Youth Sports Concussion Act”). Except for PRIV

 488,   these    documents      are    not    privileged         because      they    do    not

 involve legal advice. For the most part the documents merely

 involve a discussion of the particulars of Senator Udall’s bill.

 Although the Court acknowledges there are emails sent to or from

 13 The Court agrees with Riddell that PRIV 770 is privileged.
 The Court disagrees as to 400 (summary of a non-privileged
 discussion with Congressional Staff), 1187 (comments on videos)
 and 1285 (use of a new marketing term). PRIV 1286 is interesting
 in that it mentions that attorneys did not object to a new
 marketing term to replace CRT. However, Riddell did not satisfy
 its burden to show the attorney’s input was legal in nature.
 Leonen v. Johns-Manville, 135 F.R.D. 94, 95 (D.N.J. 1990)(in
 order to prevent parties from abusing the attorney-client
 privilege to thwart otherwise proper discovery, “the claimant
 must demonstrate that the communication would not have been made
 but for the client’s need for legal advice or services”).
 14 These 10 documents are listed on defendants’ Exhibit L.


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 attorneys, the emails are not privileged because they do not

 contain legal advice. PRIV 488 is different in that it conveys

 legal advice prepared by an attorney acting in a legal role

 rather than a lobbying or P.R. role. The Court finds that the

 community of interest (“COI”) doctrine applies to this document.

 See McLane Foodservice, Inc. v. Ready Pac Produce, Inc., C.A.

 No. 10-6076 (RMB/JS), 2012 WL 1981559 (D.N.J. June 1, 2012).

 Since SFIA’s other nine documents are not privileged, there is

 no need to decide if the COI doctrine applies. The COI doctrine

 does     not   create    a   new    or    separate     privilege.       Instead,   it

 prevents waiver of the attorney-client privilege when otherwise

 privileged communications are shared with a third-party. Id. at

 *4. 15

 Conclusion

          For the reasons discussed above, plaintiffs’ challenges to

 the 272 documents on defendant’s privilege log are SUSTAINED in

 part     and   OVERRULED     in   part.   As    is   evident     from   the   Court’s

 analysis, most of Riddell’s documents are not privileged. This

 results from the fact that the documents do not reflect any

 legal     analysis,     opinions    or    advice,     and   are    merely     routine

 business correspondence. The Court finds that the unprotected

 documents      were   not    made   for   the    purpose    of    obtaining    legal

 15 The Court disagrees with Riddell that PRIV 359 is privileged.
 PRIV 359 is simply a non-privileged draft letter to Senator
 Rockefeller.

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 advice from an attorney or to assist an attorney to formulate

 and render legal advice to a client. To the extent a legal issue

 is touched upon, it is evident the predominant purpose of the

 document was business in nature. Further, Riddell’s privilege

 claims are not supported by competent evidence. Roche’s general

 Declaration does not satisfy Riddell’s burden of proof. To the

 extent the Court sustained a privilege assertion, it was because

 the   privileged   nature    of   the   document   was   apparent   from   the

 face, content or context of the document.

       An accompanying Order will be entered.

                                     s/Joel Schneider
                                     JOEL SCHNEIDER
                                     United States Magistrate Judge

 Dated:    December 5, 2016




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